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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

   LINDA MASI SMITH, individually and on behalf of
   all others similarly situated,                                  Case No. 9:22-cv-80992-AHS

         Plaintiff,

   vs.

   SPENGA INC.,

     Defendant.
   ______________________________________/

                              NOTICE OF DISMISSAL WITH PREJUDICE

             Plaintiff, Linda Masi Smith, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

  does hereby dismiss this action as follows:

             1.       All claims of the Plaintiff, Linda Masi Smith, individually, are hereby dismissed

  with prejudice.

             2.       All claims of any unnamed member of the alleged class are hereby dismissed

  without prejudice.



  Date: September 22, 2022

  Respectfully Submitted,

  Shamis & Gentile, P.A.
  /s/ Andrew J. Shamis
  Andrew J. Shamis, Esq.
  Florida Bar No. 101754
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  Counsel for Plaintiff and the Class
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                                    CERTIFICATE OF SERVICE

         I hereby certify that on September 22, 2022, I electronically filed the foregoing document
  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
  served this day on all counsel identified below via transmission of Notices of Electronic Filing
  generated by CM/ECF or in some other authorized manner.

  Respectfully submitted,
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                                              Miami, FL 33132
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                                       By:     /s/ Andrew J. Shamis
                                               Andrew J. Shamis, Esq.
                                               Florida Bar # 101754


                                              Counsel for Plaintiff and the Class
